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                                              iMessage
                                        Mon, Jan 9 at 6:22 PM
                         David Ferris

                         Lolo,

                         My atty Brian Charville copied on
                         this note tried you earlier today to
                         discuss the 231 Turnpike matter.

                         Dave Ferrid

                DF       Ferris


                         Hi Dave, sorry I am in a meeting.
                         When will be a good time to call
                L        back?


                         Anytime is fine

                         We should be free anytime tmrw
                DF       am after 8:15


                         Ok, I will call tomorrow right after
                         8:15


                         Ionia


                         Good morning, I am ready for a

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                               Thank you for the link. To be clear,
                               I represent only David and his
                               company, and I will not be
                               representing you or Westborough
                               SPE, LLC. Please do send the link
                               for the next hearing when you
                               receive it, so that I may continue
                               to monitor it for David. Thank you
                               again


                        Dave, I need help to find a lawyer
                        that can represent the the LLC.
                        There is no benefit to you for
                        monitoring the case if I don't win.
                        Can you help?
                D
                        I have at least one document
                        showing who may be the equity
                        owner of the LLC.
                0
                                       IRn 10 a   , i:n3


                               Please feel free to send along so I
                               may review for David -
                               bcharville@
                               ferrisdevelopment.com
                               Thank you
                        Lolo

                        Hey Brian, I don't think I should be

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                        Hey Brian, I don't think I should be
                        sending you any more information
                        if you were just going to be
                        monitoring the case for David. I
                        needed an attorney. That's why I
                        reached out to Dave in the first
                L       place.

                             I will continue to represent David. I
                             had understood that you two were
                             discussing a potential sale of the
                             property once you redeem it.
                             Anything that you can send to
                             substantiate your ownership of
                             the LLC will help him evaluate a
                             potential purchase of the
                             property.


                        If you are going to help me find an
                        attorney, then I'll share
                        information with you. If not, then
                L       good luck.

                                 Mon, Jan 16 at 8:55 AM



                        Good morning Dave, the Town is
                        asking us for proof of funds do
                        you know anybody that can help?
                        If not that's Ok.
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                               WB SPE EIN
                        pdf    LETTER0001.pdf
                               PDF Document      2.3 MB



                               FORM 4506 TAX
                        pdf    return.pdf
                               PDF Document • 2.1 MB



                     We believe that Jan Blaustein
                     Scholes, is a managing member of
                     the LLC. To confirm that we have
                     ordered Partnership Income Tax
                     Return, Form 1065, from the IRS.
                     Only a member manager has the
                     authority to sign IRS Form 1065.
                     This is more informational to show
                     the IRS what annual distributions
                     were.
                S
                                                          for David.

                                       17 at 7•An PN1




                            Lolo, do you have copies of any
                            Operating Agreements of the LLC
                            that you are able to send me?
                            Thank you

                               'Ned, Jan 18 at 3:14PM
                     Lolo


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                                    Wed, Jan 18 at 3:14PM
                        Lolo


                                    Operating A WSP
                           pdf      LLC.pdf
                                    PDF Document • 9.1 MB


                        Brian, we couldn't find any original
                        operating Agreement or
                        Corporate Resolutions. We just
                L       put this one in please.

                                    Thu, Jan 26 at 10:08AM



                        Brian, do you by any chance have
                        an Appraisal for the 231 Turnpike
                        rd property? A lender is asking for
                        it. We want to have the funds to
                        redeem the property at the
                L       hearing.

                                 Hi Lolo - no, during the RFP
                                 process we didn't have reason to
                                 order an appraisal.


                L       Ok, thanks!

                               I think Mr. Ferris may be willing to
                               post the redemption money if
                               you're successful in vacating the

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                        We sound have the tax returns by
                        March 8, which we hope will
            0           reveal the members.



                              Thank you, we will review and be
                              back in touch.




                        Brian, I am starting to see the
                        authority issues we have in this
                        case.

                        I contacted Walter Horst, Chief
                        Financial Officer at Babcock &
                        Brown. He is the person who
                        signed the dissolution Of Babcock
                        & Brown Parallel Member LLC.
                        He is heading out on an
                        international trip. He will be back
                        in the middle of next week.

                        BBPM is the Manager of
                        Westborough SPE, LLC. So,
                        reviving BBPM and having it join
                        the case should solve the
                        authority issue.

                                 IA.   A   A% AS /A   AAA MA   /1   MAI, IAA /A   %ANA   I




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                                          Tue, Mar 14 at 9:14 PM



                     Brian, when can I get the LOI? My
                     attorney Alvin Nathanson said that
                     we need proof of funds
                     immediately. I will not have any
                     chance of getting the foreclosure
                     Judgment vacat without
                I    redemption funds proof.

                     I am very close to finding the
                I    beneficial owner of the property.

                                 Thank you. I was reviewing the
                                 Town's most recent filing from last
                                 week. They are really digging in
                                 on Jan's mental capacity. I can
                                 shoot the L0I over to you now
                     Lolo

                     Thank you so much I will really
                     appreciate that.
                    TFW Wi-Fi            722 AM                O


                    lnbox            2 Messages




                    •       Walter Horst
                            To: Lo'onvo:1 Akcurte
                                                         ,sterday



                    RE: Westborough SPE, LLC

                    The issue here is that we resigned as Manager
                    of Westborough, primarily because we could not
                    identify the ultimate owners of Westborough.
                    After resignation as Manager of Westborough we
                    liquidated BB Administrative Services through



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                             Please have Scott email me an
                             example if he's seen that done
                             before. We would like to see what
                             security can be offered so that
                             Dave can become comfortable
                             with the potential idea of
                             extending that much on paper
                             without a Court having yet ruled in
                             your favor.


                L       Ok

                                  Fri, Mar 17 at 3:49 PM



                        Brian, I just emailed you a draft
                        Standby Letter of Credit. Please
                        let me know if this is possible, if
                L       not, I can pursue other avenues.

                                  Mon, Mar 20 at 2:01 PM



                        Hi Brian, I have been trying to
                        negotiate with Peter, Jan's
                        Guardian, to get the authority I
                        need to vacate the foreclosure
                        judgment. But, he's not
                        responding, so I am switching
                        focus to the TMF group.


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                                            Fri, Mar 31 at 5:50 PM



                       Hi Brian, I run out of money. I don't
                       have anymore funds to continue
                       with the case. Do you think Dave
                       maybe interested in being a third-
                       party guarantor and cover my
                       retainer fee?

                       I finally have a document proving
                       that (Mignonette Investments
                       Limited) is the only (Westborough
                       SPE, LLC) member.
                       Mignonette Investments Limited
                       was suspended for nonpayment
                       of fees. I am in the process of
                       restoring its registration.

                       I asked Scott to file a lis pendens
                       on Monday. It should only take five
                       days to have a hearing. If it is
                       approved, then I know I have a
                       good case. If it is not, then I will
                       cut my losses.
                     Mail a   S'           5:18 PM              0


                                          SS     •


                                          2 People

                                    maybe the end of this case for
                                    now until I get more money.


                              If we are to proceed, you must
                              promise never to communicate
                              with Town Counsel without our



                              iMessage
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                                           Tue, May 23 at 7:19 PM



                        Hi Brian, If we are able to get
                        Peter to ratify and confirm the Bill
                        of Sale, will Dave be willing to pay
                        the attorneys fees so we can
                L       finish with the case?

                                Please let us know what you plan
                                to contribute to the current
                                balance and future amounts of
                                Scott's fees. Thank you


                        Brian, what I can contribute right
                        now is time and energy. I do not
                L       have any more money.

                                From last week's hearing it seems
                                like the case is at a point where a
                                lot of lawyering is needed, and
                                that requires money


                        I agree that's why I'm telling Scott
                        that we should negotiate instead
                L       of fighting in court.

                                I'll reply tonight on the chain with
                                him regarding the approach to
                                +.,%/IIM      /SI,'    lie`if,I,I
